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      BALLOT TRAFFICKING PROJECT OVERVIEW

      True the Vote has documented evidence of massive vote trafficking in the November 2020 election and the
      January 5, 2021 runoff election in Georgia.


      Vote trafficking is the illegal practice of voting mail-in ballots without voter authorization or accepting any
      form of remuneration in exchange for a ballot. Some states, like California, have legalized vote harvesting.
      Vote trafficking as defined here is illegal in every state.


      Our project involved the use of geospatial data to track unique cell phone signatures.              Using mobile
      marketing and GPS data, we mapped the travel patterns of ballot traffickers to and from organizations and
      ballot drop boxes. This tracking method is explained in great detail by The New York Times in a series
      called The Privacy Project. They and others have published much about how mobile data was used to
      track President Trump and identify individuals at the January 6th event at the Capitol. Law enforcement
      uses this type of data routinely.


      We focused on 6 major metropolitan areas across 6 states: Georgia, Arizona, Wisconsin, Michigan,
      Pennsylvania, and Texas. Our dataset includes 10 trillion location based cell signals and over a petabyte of
      dropbox surveillance video.

      We began in Georgia. In six counties in and around Atlanta, Georgia 552,987 cell phones came within 100
      feet of ballot drop boxes during our study period, but 242 of those devices made repeated visits to the drop
      boxes - in fact during early voting periods these individuals averaged over 23 visits each to the boxes and
      over 7 visits each to one or more of ten targeted organizations, including Race Forward, State Voices, and
      New Georgia Project. In total, the 242 individuals went to drop boxes over 5,000 times, with the
      majority of visits occurring between 10:00pm and 5:00am. Video evidence corroborates the digital data
      and supports the need for full investigations by law enforcement.


      These aberrant travel patterns exist only during early voting periods. They are so distinct that they are
      clearly distinguishable from the over 500,000 devices studied. There is no other reasonable explanation to
      warrant the behaviors of these 242 individuals except ballot trafficking.


      We've identified 202 ballot traffickers in Phoenix and San Luis, Arizona, where our data has been used to
      support two indictments, with more to come.


      Analysis is currently underway in focused areas in our other targeted states - Wisconsin, Pennsylvania,
      Michigan, and Texas. We have every reason to believe we will uncover similar patterns in these states.




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      Figure 1: 24-hour Route in Georgia This person's route included stops at 5 organizations and 27 individual ballot drop boxes,
      traveling across 6 counties. Red dots represent ballot drop boxes, blue house icons (circled) represent targeted organizations, blue line
      represents daily travel path

      Our ability to prove this nationwide pattern and present findings in a full length documentary will uncover
      the election exploitation that is in fact occurring - and lay out a plan to prevent it from occurring again in
      2022.


      Remaining Funding Requirements


      1. Continued video processing -
               Min 5 people for 3 months, plus equipment, storage, and software. (This could be an underestimate depending
               on the scale of still unknown MI and PA video releases)

      2. Private Investigators
               Professional detectives to engage with selected traffickers and encourage their testimony. 2 investigators per
               state x 5 states for one month.

      3. Continued pattern analysis and presentation to support production requirements
               OpSec analyst team $50,000/mo for 3-4 months

      4. Specialized investigators to track finances to fund trafficking by targeted organizations
               2 teams of investigators for 3 months

      Total Estimat

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